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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                VoIP Guardian Partners I, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1221 Ocean Avenue
                                  Unit 507
                                  Santa Monica, CA 90401
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.voipguardian.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    VoIP Guardian Partners I, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5222

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   VoIP Guardian Partners I, LLC                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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 Fill in this information to identify the case:

 Debtor name            VoIP Guardian Partners I, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       71,284,210.07

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       71,284,210.07


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     194,039,608.35


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           157,745.94


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        194,197,354.29




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         VoIP Guardian Partners I, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                             number


           3.1.     See Attached Schedule                                                                                                        $1,738,590.89



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                  $1,738,590.89
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                        11,499,756.37    -                    10,893,207.16 = ....                             $606,549.21
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         VoIP Guardian Partners I, LLC                                                  Case number (If known)
                Name


            11b. Over 90 days old:                           1,519,221.16    -                        13,746.19 =....     $1,505,474.97
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                            $2,112,024.18
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 2
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 Debtor         VoIP Guardian Partners I, LLC                                                Case number (If known)
                Name


        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
                                                                        192,117,647.00 -                     159,171,714.00 =
           See Attached Schedule                                      Total face amount    doubtful or uncollectible amount          $32,945,933.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           BT Group PLC, BT Netherlands NV                                                                                           $34,487,662.00
           Nature of claim      Tort
           Amount requested                                     $34,487,662.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                       $67,433,595.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor          VoIP Guardian Partners I, LLC                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,738,590.89

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,112,024.18

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $67,433,595.00

 91. Total. Add lines 80 through 90 for each column                                                       $71,284,210.07             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $71,284,210.07




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
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ATTACHMENT FOR SCHEDULE A
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Part 1: Cash and cash equivalents

3. Checking, savings, money market, or financial brokerage accounts (identify all)

Name of institution (bank or brokerage)      Type of account                         Last 4 digits of account number Current value of debtor's interest
First Republic Bank                          Checking ‐ Collection                                  6458              $                         101,515.96
First Republic Bank                          Checking ‐ Operating                                   9399              $                                 ‐
First Republic Bank                          Checking ‐ FX Collateral                               6466              $                         446,839.93
First Republic Bank                          Foreign Exchange (EUR) ‐ Collection                    1635              $                                 ‐
First Republic Bank                          Foreign Exchange (EUR) ‐ Operating                     1808              $                      1,190,235.00
                                                                                                                      $                      1,738,590.89
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Part 11: All other assets

71. Notes Receivable                                                     GL Account: Wire Transfers ‐ Telecom Loan
   Description (include name of obligor)      Total face amount       doubtful or uncollectible amount       Current Value of debtor's interest
Hilf Telecom BV                              $    20,551,685.41     $                                 ‐    $                     20,551,685.41
Interstach GmbH                              $      9,054,050.74    $                                 ‐    $                      9,054,050.74
LTD Tel                                      $          2,128.74    $                           (2,128.74) $                                 ‐
Najd Technologies Limited                    $    58,004,470.96     $                     (58,004,470.96) $                                  ‐
Plus AMA Plus AG                             $      3,365,356.35    $                                 ‐    $                      3,365,356.35
Telacme Limited                              $ 101,165,115.18       $                   (101,165,115.18) $                                   ‐
Other                                        $        (25,159.36)   $                                 ‐    $                         (25,159.36)
                                     Total   $ 192,117,648.02       $                   (159,171,714.88) $                       32,945,933.14
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VoIP Guardian Partners I, LLC.
Wire Transfers ‐ Telecom Loans ‐ Reconcilation
As of 02/24/19

                  Row Labels                2/28/2018            3/31/2018         4/30/2018         5/31/2018         6/30/2018         7/31/2018         8/31/2018         9/30/2018        10/31/2018        11/30/2018       12/31/2018       1/31/2019         Grand Total                                                    Notes
  Arco Telecom, LTD                                                                                                                                                                                                                                                           0.00
     Collection                                                                                                                                                                                                                                                     (18,486,859.00)
     Loan                                                                                                                                                                                                                                                            18,323,343.46
     Balance to Client                                                                                                                                                                                                                                                  163,515.54
     Other                                                                                                                                                                                                                                                                   (0.00)
  BTB Systems, UG                                                                                                                                                                                                                                                            (0.00)
     Collection                                                                                                                                                                                                                                                        (778,245.63)
     Loan                                                                                                                                                                                                                                                               757,998.24
     Balance to Client                                                                                                                                                                                                                                                   20,247.37
     Other                                                                                                                                                                                                                                                                    0.02
  Hilf Telecom, BV                                                                                                                                                                                                                                                   20,551,685.41 Reconciles as of 01/31/19. No Activity, customer funds held up pending investigation.
     Collection                                                                                                                                                                                                                                                     (37,890,833.57)
     Loan                                                                                                                                                                                                                                                            57,615,968.94
     Balance to Client                                                                                                                                                                                                                                                  826,580.03
     Other                                                                                                                                                                                                                                                                  (29.99)
  IKBS ‐ i Karim Business Services, LTD                                                                                                                                                                                                                                       0.00
     Collection                                                                                                                                                                                                                                                     (40,010,644.66)
     Loan                                                                                                                                                                                                                                                            39,602,940.88
     Balance to Client                                                                                                                                                                                                                                                  407,703.78
                                                                                                                                                                                                                                                                                    Reconciles as of 02/24/19. VoIP owes client $25.9K, including $3,706.19 from Sunnymax
                                                                                                                                                                                                                                                                                    overpayment not to be applied yet, from October settlement and $50.4K from November
                                                                                                                                                                                                                                                                                    settlement. Client owes VoIP $4.890M from December Loans balance and all of January loans (1‐
  Interstach, GmbH                                                                                                                                                (0.00)             (0.00)       (25,915.23)      (50,492.70)    4,890,633.01    2,370,956.57        7,185,181.65 17th).
    Collection                                                                                                                                              (800,442.30)     (2,338,266.69)    (2,294,477.30)   (7,592,633.06)     (455,716.78)                     (13,481,536.13)
    Loan                                                                                                                                                     800,105.95       2,315,594.38      2,268,562.07     7,542,140.36     5,346,349.79    2,370,956.57       20,643,709.12
    Balance to Client                                                                                                                                            336.35          22,672.31                                                                               23,008.66

                                                                                                                                                                                                                                                                                      Reconciles as of 02/24/19. VoIP owes client $5,749.81 from October settlement and $2,907.17 (EUR
                                                                                                                                                                                                                                                                                      2,513.42 from October overpayment FBO of Sunnymax not be applied yet) and $49,639.34 from
  Interstach, GmbH (EUR)                                                                                    (0.00)              0.00              0.00             (0.00)            (0.00)       (8,656.98)            (0.00)      (49,639.34)   1,927,165.41         1,868,869.09 December settlement. Client owes VoIP balance of January loans (1‐17th) of $1.927M.
    Collection                                                                                        (102,686.55)     (1,827,680.77)    (1,632,757.28)    (1,714,569.81)    (1,157,050.38)     (779,199.86)      (723,277.26)   (4,824,622.92)      (54,357.42)    (12,816,202.25)
    Loan                                                                                               102,357.02       1,820,935.73      1,632,161.28      1,706,301.69      1,145,403.30       770,949.70        724,331.38     4,775,040.86    1,981,522.83       14,659,003.79
    Balance to Client                                                                                      239.46           6,762.50            170.49          8,039.48         11,639.66                                                                                26,851.59
    Other                                                                                                   90.07             (17.46)           425.51            228.64              7.42           (406.82)       (1,054.12)          (57.28)                              (784.04)
                                                                                                                                                                                                                                                                                      Reconciles as of 02/24/19. Client still owes VoIP balances from Sep and Oct settlements due to
  LTD Tel, SL                                           0.00             0.00             (0.00)            (0.01)             0.01              0.00             (0.00)         1,754.31             374.43                                                                2,128.74 insufficient payment as a result of late fees. Collections efforts have been underway.
    Collection                                   (224,479.27)     (234,669.34)      (292,014.64)      (228,716.12)      (236,165.62)      (260,881.05)      (224,664.44)      (220,829.13)        (71,188.72)                                                       (27,307,837.71)
    Loan                                          232,752.13       231,348.06        292,440.69        226,189.41        234,413.01        258,979.09        222,534.45        222,583.44          71,563.15                                                         27,078,805.99
    Balance to Client                               3,349.85         3,321.28               ‐            2,526.70          1,752.62          1,901.96          2,129.99               ‐                                                                                  177,160.43
    Other                                         (11,622.71)                           (426.05)                                                                                                                                                                          54,000.03
  My Core‐4‐Wholesale, BV                                                                                                                                                                                                                                                      (0.00)
    Collection                                                                                                                                                                                                                                                        (1,684,669.29)
    Loan                                                                                                                                                                                                                                                               1,603,333.78
    Balance to Client                                                                                                                                                                                                                                                     84,882.32
    Other                                                                                                                                                                                                                                                                  (3,546.81)
                                                                                                                                                                                                                                                                                      Reconciles as of 02/24/19. Client owes VoIP balance from October. Client owes VoIP all of
                                                                                                                                                                                                                                                                                      November and December loans (1‐19 loans). Client in default, legal and asset recovery efforts
  Najd Technologies, LTD                             0.00                (0.00)            (0.00)             0.00              0.00              0.00              0.00              0.00      4,660,014.16    32,232,904.49    21,111,552.31                       58,004,470.96 underway.
    Collection                             (23,855,164.99)      (23,852,096.49)   (20,872,946.46)   (20,983,439.85)   (19,678,982.81)   (28,065,403.22)   (29,429,993.11)   (30,954,438.09)   (27,566,000.00)                                                      (516,092,797.72)
    Loan                                    23,665,252.80        23,699,502.10     20,853,694.91     20,864,137.39     19,560,862.43     27,833,079.39     29,228,765.13     30,693,983.53     32,226,014.16    32,232,904.49    21,111,552.31                      568,406,205.57
    Balance to Client                          189,912.19           152,594.39         19,251.55        119,302.46        118,120.38        232,323.83        201,227.98        260,454.56                                                                             5,529,820.37
    Other                                                                                                      ‐                                                                                                                                                         161,242.74
  Omega Communications, GmbH                                                                                                                                                                                                                                                    0.00
    Collection                                                                                                                                                                                                                                                      (33,854,254.93)
    Loan                                                                                                                                                                                                                                                             33,556,691.04
    Balance to Client                                                                                                                                                                                                                                                    299,183.48
    Other                                                                                                                                                                                                                                                                  (1,619.59)
  Omega Communications, GmbH (EUR)                                                                                                                                                                                                                                             (0.00)
    Collection                                                                                                                                                                                                                                                      (28,256,314.50)
    Loan                                                                                                                                                                                                                                                             27,958,547.94
    Balance to Client                                                                                                                                                                                                                                                    300,908.55
    Other                                                                                                                                                                                                                                                                  (3,141.99)

                                                                                                                                                                                                                                                                                    Reconciles as of 02/24/19. VoIP owes client $17.4K from October settlement, $2.1K from November
  Plus AMA Plus AG                                                      (0.00)              0.00             (0.00)            (0.00)             0.00             (0.01)             0.01        (17,471.52)       (2,167.01)      (17,729.37)   1,688,081.45        1,650,713.55 Settlement, and $17.7K from December settlement. Client owes VoIP all of January loans (1‐17th).
    Collection                                                    (161,752.66)     (1,971,528.46)    (1,883,657.86)    (1,552,243.02)    (2,338,102.84)    (1,740,212.83)    (2,255,430.98)    (1,970,727.77)     (506,123.34)   (1,838,770.88)                     (16,218,550.64)
    Loan                                                           160,662.22       1,958,848.09      1,867,645.36      1,537,350.50      2,315,431.75      1,725,293.13      2,255,430.99      1,953,256.25       503,956.33     1,821,041.51    1,688,081.45       17,786,997.58
    Balance to Client                                                1,090.44          12,680.37         16,012.50         14,892.52         22,671.09         14,919.69                                                                                                 82,266.61
    Other                                                                 ‐                                                                                                                                                                                                    ‐
                                                                                                                                                                                                                                                                                    Reconciles as of 02/24/19. VoIP owes client $4,562.54 from December settlement. Client owes VoIP
  Plus AMA Plus AG (EUR)                                                                                                                                                                                                             (4,562.54)   1,719,205.34        1,714,642.80 all of January loans (1‐17th).
    Collection                                                                                                                                                                                                                     (648,198.79)                        (648,198.79)
    Loan                                                                                                                                                                                                                            643,562.74    1,719,205.34        2,362,768.08
    Balance to Client                                                                                                                                                                                                                      ‐                                   ‐
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    Other                                                                                                                                                                                                                          73.51                              73.51
  Reconciling Items                                                                                                                                                                                                                                                     ‐
    Other                                                                                                                                                                                                                                                               ‐
  Rudare Communications, SL                       (6.56)             0.00              0.00             (0.01)             0.00             (0.00)            (0.00)            (0.00)         (2,609.08)                                                         (2,615.64) Reconciles as of 02/24/19. VoIP owes client $2,609.08 from October settlement.
    Collection                              (236,095.62)      (231,478.07)      (264,911.78)      (233,500.14)      (251,393.11)      (233,047.63)      (227,227.18)      (224,960.67)        (71,771.10)                                                    (25,409,463.34)
    Loan                                     233,611.12        229,718.63        264,747.75        225,955.38        245,804.54        230,150.74        222,086.24        221,857.40          69,162.02                                                      25,153,911.80
    Balance to Client                          2,477.94          1,759.44            164.03          7,544.75          5,588.57          2,896.89          5,140.94          3,103.27                                                                            178,469.55
    Other                                                                                                                                                                                                                                                         74,466.35
  Rudare Communications, SL (Colt Tech)                                                                                                                                                                                                                               (0.00)
    Collection                                                                                                                                                                                                                                                  (246,101.79)
    Loan                                                                                                                                                                                                                                                         246,101.79
  Sunnymax Trading, GmbH                            0.01             (0.00)             0.00              0.00              0.00              0.00              0.00              0.00        (20,421.31)                                                        (20,421.80) Reconciles as of 02/24/19. VoIP owes client $20.4K from October settlement.
    Collection                             (8,605,673.74)    (8,418,869.01)    (6,940,781.04)    (7,388,533.51)    (7,716,542.17)    (7,399,302.73)    (5,955,012.99)    (5,839,065.19)    (4,968,540.19)                                                    (96,745,732.37)
    Loan                                    8,519,572.02      8,318,675.55      6,878,229.69      7,331,315.51      7,643,302.15      7,326,520.68      5,908,499.81      5,781,665.13      4,948,118.88                                                      95,830,425.45
    Balance to Client                          86,101.73        100,193.46         62,551.35         57,218.00         73,240.02         72,782.05         46,513.18         57,400.06                                                                           894,885.12
    Other                                            ‐                                                                                                                                                                                                                  ‐
  Sunnymax Trading, GmbH (EUR)                     (0.00)            (0.00)            (0.00)            (0.00)             0.00              0.00              0.00              0.00        (2,121.92)                                                          (2,121.92) Reconciles as of 02/24/19. VoIP owes client balance of $2,121.92 from October settlement.
    Collection                            (11,099,688.25)   (11,684,125.58)    (8,713,571.20)    (6,059,370.89)    (3,095,418.77)    (2,164,299.21)    (2,156,270.92)    (1,570,818.85)     (998,324.87)                                                     (83,577,458.72)
    Loan                                   10,994,276.57     11,578,415.33      8,629,112.58      6,050,259.05      3,056,864.98      2,156,516.50      2,143,615.18      1,554,771.86       992,790.91                                                       82,655,460.12
    Balance to Client                         102,263.54        106,566.04         84,343.83               ‐           38,907.61          7,247.23         12,357.04         16,054.03                                                                           814,104.93
    Other                                       3,148.14           (855.79)           114.79          9,111.84           (353.82)           535.48            298.70             (7.04)        3,412.04                                                          105,771.75
                                                                                                                                                                                                                                                                             Reconciles as of 02/24/19. Client owes VoIP balance from October. Client owes VoIP all of
                                                                                                                                                                                                                                                                             November and December loans (1‐19th). Client in default, legal and asset recovery efforts
  Telacme, LTD                                      0.00              0.00             (0.00)             0.00             (0.00)            (0.00)             0.00             (0.00)     3,852,430.07    58,931,278.81   38,381,446.30                   101,165,115.18 underway.
    Collection                            (41,566,142.02)   (43,709,008.58)   (43,805,741.60)   (43,924,988.09)   (44,966,674.69)   (51,417,020.10)   (54,027,458.41)   (56,645,548.09)   (55,099,600.00)                                                  (877,716,102.67)
    Loan                                   41,129,659.93     43,190,247.36     43,386,812.98     43,602,438.36     44,546,444.55     50,877,767.27     53,427,724.73     56,118,320.49     58,952,030.07    58,931,278.81   38,381,446.30                   969,320,947.52
    Balance to Client                         436,482.09        518,761.22        418,928.62        322,549.73        420,230.14        539,252.83        599,733.68        527,227.60                                                                         9,341,625.55
    Other                                                                                                                                                                                                                                                        218,644.78
Grand Total                                        (6.55)             0.00             (0.00)            (0.02)             0.01             (0.00)            (0.01)        1,754.32      8,435,622.62     91,111,523.59   64,311,700.37   7,705,408.77    192,117,648.02
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Part 11: All other assets

74. Causes of action against third parties (whether or not a lawsuit has been filed)

Interest & Charges         $ 11,893,237.18
Principal                  $ 21,939,448.22
Legal Fees                 $    654,976.61
Total Claim as of 02/25/19 $ 34,487,662.01
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VoIP Guardian Partners I, LLC.
Hilf‐Telecom Summary of Interest Damages
as of 02/25/19

   Month        Interest Charges      VG Fees       Sum of Total Charges   Cumulative Charges   Principal Balance   Total Damages
  03/31/17      $ 235,772.57       $ 188,618.05     $        424,390.62     $      424,390.62   $ 21,939,448.22      $ 22,363,838.84
  04/30/17      $ 274,243.10       $ 219,394.48     $        493,637.58     $      918,028.20   $ 21,939,448.22      $ 22,857,476.42
  05/31/17      $ 283,384.54       $ 226,707.63     $        510,092.17     $    1,428,120.37   $ 21,939,448.22      $ 23,367,568.59
  06/30/17      $ 274,243.10       $ 219,394.48     $        493,637.58     $    1,921,757.96   $ 21,939,448.22      $ 23,861,206.18
  07/31/17      $ 283,384.54       $ 226,707.63     $        510,092.17     $    2,431,850.13   $ 21,939,448.22      $ 24,371,298.35
  08/31/17      $ 283,384.54       $ 226,707.63     $        510,092.17     $    2,941,942.30   $ 21,939,448.22      $ 24,881,390.52
  09/30/17      $ 274,243.10       $ 219,394.48     $        493,637.58     $    3,435,579.89   $ 21,939,448.22      $ 25,375,028.11
  10/31/17      $ 283,384.54       $ 226,707.63     $        510,092.17     $    3,945,672.06   $ 21,939,448.22      $ 25,885,120.28
  11/30/17      $ 274,243.10       $ 219,394.48     $        493,637.58     $    4,439,309.64   $ 21,939,448.22      $ 26,378,757.86
  12/31/17      $ 283,384.54       $ 226,707.63     $        510,092.17     $    4,949,401.81   $ 21,939,448.22      $ 26,888,850.03
  01/31/18      $ 283,384.54       $ 226,707.63     $        510,092.17     $    5,459,493.99   $ 21,939,448.22      $ 27,398,942.21
  02/28/18      $ 255,960.23       $ 204,768.18     $        460,728.41     $    5,920,222.40   $ 21,939,448.22      $ 27,859,670.62
  03/31/18      $ 283,384.54       $ 226,707.63     $        510,092.17     $    6,430,314.57   $ 21,939,448.22      $ 28,369,762.79
  04/30/18      $ 274,243.10       $ 219,394.48     $        493,637.58     $    6,923,952.15   $ 21,939,448.22      $ 28,863,400.37
  05/31/18      $ 283,384.54       $ 226,707.63     $        510,092.17     $    7,434,044.32   $ 21,939,448.22      $ 29,373,492.54
  06/30/18      $ 274,243.10       $ 219,394.48     $        493,637.58     $    7,927,681.91   $ 21,939,448.22      $ 29,867,130.13
  07/31/18      $ 283,384.54       $ 226,707.63     $        510,092.17     $    8,437,774.08   $ 21,939,448.22      $ 30,377,222.30
  08/31/18      $ 283,384.54       $ 226,707.63     $        510,092.17     $    8,947,866.25   $ 21,939,448.22      $ 30,887,314.47
  09/30/18      $ 274,243.10       $ 219,394.48     $        493,637.58     $    9,441,503.84   $ 21,939,448.22      $ 31,380,952.06
  10/31/18      $ 283,384.54       $ 226,707.63     $        510,092.17     $    9,951,596.01   $ 21,939,448.22      $ 31,891,044.23
  11/30/18      $ 274,243.10       $ 219,394.48     $        493,637.58     $  10,445,233.59    $ 21,939,448.22      $ 32,384,681.81
  12/31/18      $ 283,384.54       $ 226,707.63     $        510,092.17     $  10,955,325.76    $ 21,939,448.22      $ 32,894,773.98
  01/31/19      $ 283,384.54       $ 226,707.63     $        510,092.17     $  11,465,417.94    $ 21,939,448.22      $ 33,404,866.16
  02/28/19      $ 255,960.23       $ 204,768.18     $        460,728.41     $  11,926,146.35    $ 21,939,448.22      $ 33,865,594.57
    02/01/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,481,872.52   $ 21,939,448.22      $ 33,421,320.74
    02/02/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,498,327.11   $ 21,939,448.22      $ 33,437,775.33
    02/03/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,514,781.69   $ 21,939,448.22      $ 33,454,229.91
    02/04/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,531,236.28   $ 21,939,448.22      $ 33,470,684.50
    02/05/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,547,690.87   $ 21,939,448.22      $ 33,487,139.09
    02/06/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,564,145.45   $ 21,939,448.22      $ 33,503,593.67
    02/07/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,580,600.04   $ 21,939,448.22      $ 33,520,048.26
    02/08/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,597,054.62   $ 21,939,448.22      $ 33,536,502.84
    02/09/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,613,509.21   $ 21,939,448.22      $ 33,552,957.43
    02/10/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,629,963.80   $ 21,939,448.22      $ 33,569,412.02
    02/11/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,646,418.38   $ 21,939,448.22      $ 33,585,866.60
    02/12/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,662,872.97   $ 21,939,448.22      $ 33,602,321.19
    02/13/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,679,327.56   $ 21,939,448.22      $ 33,618,775.78
    02/14/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,695,782.14   $ 21,939,448.22      $ 33,635,230.36
    02/15/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,712,236.73   $ 21,939,448.22      $ 33,651,684.95
    02/16/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,728,691.31   $ 21,939,448.22      $ 33,668,139.53
    02/17/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,745,145.90   $ 21,939,448.22      $ 33,684,594.12
    02/18/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,761,600.49   $ 21,939,448.22      $ 33,701,048.71
    02/19/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,778,055.07   $ 21,939,448.22      $ 33,717,503.29
    02/20/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,794,509.66   $ 21,939,448.22      $ 33,733,957.88
    02/21/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,810,964.24   $ 21,939,448.22      $ 33,750,412.46
    02/22/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,827,418.83   $ 21,939,448.22      $ 33,766,867.05
    02/23/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,843,873.42   $ 21,939,448.22      $ 33,783,321.64
    02/24/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,860,328.00   $ 21,939,448.22      $ 33,799,776.22
    02/25/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,876,782.59   $ 21,939,448.22      $ 33,816,230.81
    02/26/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,893,237.18   $ 21,939,448.22      $ 33,832,685.40
    02/27/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,909,691.76   $ 21,939,448.22      $ 33,849,139.98
    02/28/19    $      9,141.44    $     7,313.15   $         16,454.59     $   11,926,146.35   $ 21,939,448.22      $ 33,865,594.57
  03/31/19      $ 283,384.54       $ 226,707.63     $        510,092.17     $  12,436,238.52    $ 21,939,448.22      $ 34,375,686.74
  04/30/19      $ 274,243.10       $ 219,394.48     $        493,637.58     $  12,929,876.10    $ 21,939,448.22      $ 34,869,324.32
  05/31/19      $ 283,384.54       $ 226,707.63     $        510,092.17     $  13,439,968.28    $ 21,939,448.22      $ 35,379,416.50
  06/30/19      $ 274,243.10       $ 219,394.48     $        493,637.58     $  13,933,605.86    $ 21,939,448.22      $ 35,873,054.08
  Grand Total   $ 7,740,892.14     $ 6,192,713.72   $     13,933,605.86     $  13,933,605.86    $ 21,939,448.22      $ 35,873,054.08
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VoIP Guardian Partners I, LLC.
Hilf‐Telecom/BT Summary of Legal Fees & Expenses
as of 02/25/19

                        Vendor                                                    Matter                       Total
McCarter & English, LLP                                    Legal Fees & Expenses ‐ USA (Civil)            $    74,924.22
Shinder Law Group                                          Legal Fees & Expenses ‐ USA (Civil)            $     1,920.00
Private Investigator ‐ Dennis M. Lormel                    Legal Fees & Expenses ‐ USA                    $     1,758.11
Winston & Strawn, LLP                                      Legal Lees & Expenses ‐ USA (Criminal)         $   118,937.50
Kennedy Van der Laan                                       Legal Lees & Expenses ‐ NL (Civil)             $   212,278.47
Van Doorne                                                 Legal Lees & Expenses ‐ NL (Criminal)          $   235,158.31
Abrams Fensterman Fensterman                               Legal Lees & Expenses ‐ USA (Criminal)         $    10,000.00
                                                                                                    Total $   654,976.61
Notes:
1) See referenced worksheets for additional vendor specific details.
              Case 2:19-bk-12607-BR                           Doc 1 Filed 03/11/19 Entered 03/11/19 16:36:25                                             Desc
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 Fill in this information to identify the case:

 Debtor name          VoIP Guardian Partners I, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
        Direct Lending Income
 2.1                                                  Describe debtor's property that is subject to a lien                   $194,039,608.35                     $0.00
        Fund LP
        Creditor's Name                               Wholesale Telecom Accounts Receivable
        550 N. Brand Boulevard,
        20th Floor
        Glendale, CA 91203
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 Filings
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        Dec. 2018 - Feb. 2019                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                               $194,039,608
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       .35

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Christian T. Becker
         Kasowitz Benson Torres LLP                                                                             Line   2.1
         1633 Broadway, 21st Floor
         New York, NY 10019




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
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ATTACHMENT FOR SCHEDULE D
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Part 1: List Creditors Who Have Secured Claims

2.1. Creditors Name
Direct Lending Income Fund LP
550 North Brand Boulevard, 20th Floor
Glendale, CA 91203
Amount of Claim: $194,039,608.35
                                         Case 2:19-bk-12607-BR                    Doc 1 Filed 03/11/19 Entered 03/11/19 16:36:25                                            Desc
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VoIP Guardian Partners I, LLC
Loan Payable Reconciliation
As of 02/25/19

            Row Labels                Jan‐18         Feb‐18        Mar‐18         Jul‐18         Aug‐18          Sep‐18          Oct‐18         Nov‐18         Dec‐18          Jan‐19         Feb‐19          Grand Total
  Direct Lending Income Fund, LP   1,500,000.00   5,000,000.00   8,000,000.00   (350,000.00)   4,650,000.00    (350,000.00)   1,150,000.00    (350,000.00)   3,000,000.00   2,205,140.82   (10,812,516.61)   194,039,608.35
     Adjustment                                                                 (100,000.00)                                                                                                                   8,400,703.13
     Draw                          1,500,000.00   5,000,000.00   8,000,000.00                  5,000,000.00                   1,500,000.00                   3,000,000.00   2,205,140.82                     250,555,140.82
     Payment                                                                    (250,000.00)    (350,000.00)   (350,000.00)    (350,000.00)   (350,000.00)                                 (10,812,516.61)   (64,916,235.60)
Grand Total                        1,500,000.00   5,000,000.00   8,000,000.00   (350,000.00)   4,650,000.00    (350,000.00)   1,150,000.00    (350,000.00)   3,000,000.00   2,205,140.82   (10,812,516.61)   194,039,608.35
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                                                              Main Document    Page 27 of 44
 Fill in this information to identify the case:

 Debtor name         VoIP Guardian Partners I, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           Abrams Fensterman                                                    Contingent
           3 Dakota Drive, Suite 300                                            Unliquidated
           New Hyde Park, NY 11042                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Forefront Partners LLC                                               Contingent
           445 Park Avenue, 9th Floor
                                                                                Unliquidated
           New York, NY 10022
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Lawsuit
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $36,181.53
           Kennedy Van Der Laan                                                 Contingent
           Moelnwerf 16                                                         Unliquidated
           Amsterdam 1014 BG                                                    Disputed
           THE NETHERLANDS
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $114,448.67
           McCarter & English LLP                                               Contingent
           Worldwide Plaza                                                      Unliquidated
           825 Eighth Avenue, 31st Floor                                        Disputed
           New York, NY 10019
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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 Debtor       VoIP Guardian Partners I, LLC                                                           Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,115.74
           Van Doorne NV
           Jachthavenweg 121                                                    Contingent
           1081 KM Amsterdam / PO Box 75265                                     Unliquidated
           Amersterdam 1070 AG                                                  Disputed
           THE NETHERLANDS
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           VoIP Guardian, LLC                                                   Contingent
           405 East 56th Street - Suite 3G                                      Unliquidated
           New York, NY 10022                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Winston & Strawn LLP                                                 Contingent
           200 Park Avenue                                                      Unliquidated
           New York, NY 10166-4193                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       157,745.94

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          157,745.94




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         VoIP Guardian Partners I, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         VoIP Guardian Partners I, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         VoIP Guardian Partners I, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $8,595,593.00
       From 1/01/2019 to Filing Date
                                                                                                   Other    Operating Business


       For prior year:                                                                             Operating a business                        $1,121,084,404.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    Operating Business


       For year before that:                                                                       Operating a business                          $766,603,554.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Operating Business

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       VoIP Guardian Partners I, LLC                                                             Case number (if known)



    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Forefront Partners, LLC v.                        Contract and               New York Supreme Court                       Pending
               VOIP Guardian Partners I,                         fiduciary duty.                                                         On appeal
               LLC et al.
                                                                                                                                         Concluded
               650973 / 2017

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                               Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None


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 Debtor        VoIP Guardian Partners I, LLC                                                                Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Raines Feldman LLP
                 1800 Avenue of the Stars
                 12th Floor
                 Los Angeles, CA 90067                                                                                         3/1/2019                  $15,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 VoIP Guardian, LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To
       14.1.     301 Arizona Avenue                                                                                          8/1/2016 to 07/31/2018
                 Suite 220
                 Santa Monica, CA 90401


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 Debtor        VoIP Guardian Partners I, LLC                                                            Case number (if known)



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.2.     405 East 56th Street                                                                                      09/25/2015 to 07/31/2016
                 Apt. 3G
                 New York, NY 10022

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Personal ID (Passports) & Data from Credit Application
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address


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 Debtor      VoIP Guardian Partners I, LLC                                                              Case number (if known)



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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 Debtor      VoIP Guardian Partners I, LLC                                                              Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Kenneth Delgado                                                                                                            2/1/2018 to Present
                    14744 SE Crosswater Way
                    Clackamas, OR 97015
       26a.2.       Gaines Goldenfarb & Associates, PC                                                                                         9/25/2015 to Present
                    1000 Woodbridge Center Drive
                    Suite 213
                    Woodbridge, NJ 07095

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Direct Lending Investment Fund, LP
                    550 N. Brand Boulevard
                    20th Floor
                    Glendale, CA 91203

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       VoIP Guardian LLC                              1221 Ocean                                          100% Owner
                                                      Santa Monica, CA 90401



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Central District of California
 In re       VoIP Guardian Partners I, LLC                                                                    Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           VoIP Guardian, LLC

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 11, 2019                                                                /s/ Hamid R. Rafatjoo
     Date                                                                          Hamid R. Rafatjoo 181564
                                                                                   Signature of Attorney
                                                                                   Raines Feldman LLP
                                                                                   1800 Avenue of the Stars
                                                                                   12th Floor
                                                                                   Los Angeles, CA 90067
                                                                                   (310) 440-4100 Fax: (310) 691-1367
                                                                                   hrafatjoo@raineslaw.com
                                                                                   Name of law firm




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                       VoIP Guardian Partners I, LLC
                       1221 Ocean Avenue
                       Unit 507
                       Santa Monica, CA 90401


                       Hamid R. Rafatjoo
                       Raines Feldman LLP
                       1800 Avenue of the Stars
                       12th Floor
                       Los Angeles, CA 90067


                       Office of the United States Trustee
                       915 Wilshire Blvd., Suite 1850
                       Los Angeles, CA 90017


                       Abrams Fensterman
                       3 Dakota Drive, Suite 300
                       New Hyde Park, NY 11042


                       Bowles Liberman & Newman LLP
                       Attn: David K. Bowles
                       14 Wall Street, 20th Floor
                       New York, NY 10005


                       Christian T. Becker
                       Kasowitz Benson Torres LLP
                       1633 Broadway, 21st Floor
                       New York, NY 10019


                       Direct Lending Income Fund LP
                       550 N. Brand Boulevard, 20th Floor
                       Glendale, CA 91203


                       Forefront Partners LLC
                       445 Park Avenue, 9th Floor
                       New York, NY 10022
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                   Kennedy Van Der Laan
                   Moelnwerf 16
                   Amsterdam 1014 BG
                   THE NETHERLANDS


                   McCarter & English LLP
                   Worldwide Plaza
                   825 Eighth Avenue, 31st Floor
                   New York, NY 10019


                   Van Doorne NV
                   Jachthavenweg 121
                   1081 KM Amsterdam / PO Box 75265
                   Amersterdam 1070 AG
                   THE NETHERLANDS


                   VoIP Guardian, LLC
                   405 East 56th Street - Suite 3G
                   New York, NY 10022


                   Winston & Strawn LLP
                   200 Park Avenue
                   New York, NY 10166-4193
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
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12th Floor
Los Angeles, CA 90067
(310) 440-4100 Fax: (310) 691-1367
California State Bar Number: 181564 CA
hrafatjoo@raineslaw.com




     Attorney for: VoIP Guardian Partners I, LLC
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         VoIP Guardian Partners I, LLC                                        ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Rodney A. Omanoff                                                       , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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                     Addendum to Corporate Ownership Statement Pursuant to
                  F.R.B.P. 1007(a)(1) and 7007.1, and Local Bankruptcy Rule 1002-5
The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
class of the corporation’s(s’) equity interests:
 VoIP Guardian LLC (100%)
 405 East 56th Street - Suite 3G
 New York, NY 10022




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
